6/1/2020     Case 3:17-cv-00072-NKM-JCHMichael
                                          Document         823-4
                                               Hill: My pledge         Filed| League
                                                               of allegiance   08/07/20      Page 1 of 2 Pageid#:
                                                                                     of The South
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    Michael Hill: My pledge of allegiance                                                                                               SHARE ON SOCIAL MEDIA


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    I’ll turn 65 on my next birthday. I was born only six years after the
    end of World War Two. I was alive at the same time as Winston
                                                                                                                                        SEARCH
    Churchill and Josef Stalin. In other words, I’ve been around a while
    and have seen a lot.                                                                                                                    search here                  Searc

    I remember a time when I felt comfortable pretty much
    everywhere I went, from the rural, the suburban, to the urban.
    And the reason was simple: the white European man was clearly                                                                       RECENT NEWS
    in control of all those areas. I never thought of taking a pistol with
    me when I went to downtown Birmingham, or Memphis, or
                                                                                                                                     The Cultural Vanguard Strategy Septembe
    Atlanta. The South, in particular, was still thoroughly White Man’s
    Land (but that was slowly changing because of the federal                                                                        Anarcho-tyranny on full display in Charlo
    government’s involvement in forcing “civil rights” for negroes down our throats).                                                August 27, 2017

                                                                                                                                     League of the South statement on Charlo
    Of course that world is now gone, or has all but disappeared. Excepting the rural areas where my people still                    August 23, 2017
    dominate, I feel like an exile when I go to much of the suburban and urban South (not to mention the hell holes
                                                                                                                                     Paddy Tarleton’s Ballad of Charlottesville
    outside of it). I surely go armed these days!
                                                                                                                                     18, 2017

    The Browning of America, and my native South, was not something to which I assented, and I surely do not                         A statement to concerned Southerners A
    approve of it. It is not what my ancestors intended for me to inherit. But truly I have only myself to blame for this            2017
    tragic fate. While it was happening I did not do enough to stop it. Now, my children and grandchildren may have to
    pay the price that will come from being a hated white minority in a majority non-white land. And non-Christian, too,
                                                                                                                                        RECENT COMMENTS
    I might add, so I don’t expect any mercy will be shown them.

    So whatever time the Lord of Hosts–whom I gladly will serve with all my heart, mind, and strength–may allot for me
                                                                                                                                     Michael Greek on The Cultural Vanguard S
    from here to the end, I pledge to spend ghting to restore the South as White Man’s Land. I do this because I
    believe the admonition in 1 Timothy 5:8. “But if any provide not for his own, and specially for those of his own                 Michael Greek on A statement to concerne
    house, he hath denied the faith, and is worse than an in del.” (KJV)                                                             Southerners

                                                                                                                                     OrthodoxConfederate on Southern Baptist
    So, in direct contradiction to the politically correct dictates of the current day, I pledge to be a white supremacist, a        condemn Alt-Right and nationalism
    racist, an anti-Semite, a homophobe, a xenophobe, an Islamophobe, and any other sort of ‘phobe that bene ts my
                                                                                                                                     OrthodoxConfederate on A Band of Brothe
    people, so help me God!
                                                                                                                                     mtnforge on Max Boot’s “Brotherhood of M
    And I encourage you all to do the same, for this is what it will take for us to save the South for our dear progeny.
    Anything else is merely a half measure and should be put away with contempt.–Michael Hill
                                                                                                                                        ARCHIVES
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6/1/2020    Case 3:17-cv-00072-NKM-JCHMichael
                                         Document         823-4
                                              Hill: My pledge         Filed| League
                                                              of allegiance   08/07/20      Page 2 of 2 Pageid#:
                                                                                    of The South
                                                       12745
       ABOUT AUTHOR                                                                                                                 March 2017
                                                                                                                                    February 2017
                        Michael Hill                                                                                                January 2017

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